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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )                   8:09CR34-2
                                            )
             V.                             )
                                            )
LARA JO URESTE,                             )                     ORDER
                                            )
                   Defendant.               )

       IT IS ORDERED that Defendant Ureste’s motion to modify conditions of self
surrender and for permission to marry (filing 81) is denied.

      DATED this 17th day of September, 2009.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
